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IN 'THE l.J'NITED STATES DISTRICT COURT
FO.R 'I`|-ll:`". NC|.R'.I`]---IIERN l.JlS'l`RIC‘T` OF IL`LINOIS
l_".AS'l`l~`.RN DIV!S|ON

 

 

'I'HRRY MARTIN,
Plaintif‘f`, 070\/4991
JuDGE ouz\\n /-\N
V.
MAGJUDGECOX
J. QuINN, J.R. MASEY, J.A. KENNY, __ _. _\ w . -- -- - - ' " '
o’l‘uan UNKNOWN DEFENDANT
ol»'i=iol*:na, '1‘Ennv rnr.JLARo, tqu ~ -
LIGHTFooT, PHrLiP CLINE, TraA l T_': ! D
Moalua, MAYoR RICHARD DALEY, ana
the oITY oF CHICAGO, SEP -` 5 2007 f 0
cf - '5` -;c) 7
Do fendanta. mn W‘. DDII|N$
- own
coMPLAINT AT LAW

`N`OW COMES the PLAINTIFF, by and through the LAW OFFICES OF BLAKE

HORWITZ, LTD., and pursuant to this Complaint at LaW, states the Jr"ol|owing against tha above

named Dot`ondants, to wit J. QUINN, J.R. MASEY, J.A. KENNY, and OTl-I.E.R UNKN()W`N

DEF`ENL)A]\|"]` O]""I~"lCl"'leS (hereinaftor_, the “‘DEFENDANT OFFICERS"’), TERRY HILLARD,

l\,(JRl ]_.lGHTFOOT, TISA MORRIS, MAYOR DALEY and PHH_,lP C]_JI.NH (horoinaftor, the

“SUPERVISORY DEFENDANTS”), and tho CITY OF CHICAGO:

JURISDICTION

1. Thojurisc]iotion ot`tho court ia invoked pursuant to tho Civil Righta Aot, 42 U.S.C. §

1933; thal Judioial Codo, 28 L|.S.C. §]\331 and §1343(a)', tho Constitution oftho Un.ited Statea; and

this Cout‘L’;~; aupplomonlury jurisdiction powora.

PA_RTIES

2. PLAINTIFF is a roaidont ofth Slalo oi` I]linoia and a oiti?.¢n ofthe Uni‘tod Slatos.

 

 

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3. The DEFENDANT OFFICERS were at all times relevant hereto employed by and acting
on behalf ot`t'he CITY OF CHICAGO.

4_ RlCliARt) IJALL",Y Was and is the acting mayor for the CITY OF CHICAGO.

5. PHILIP CLINE Was and is the acting superintendent ol` police f`or the Chicago Police
Departlncnt.

6. TER_RY HILLARD was the acting superintendent ot` police for the Chicago PoliGe
l)epartment_

7. LORI LIGHTFOO"|` was the thief Adlninistrator ot` the C.hicago Poliee Departrnent’s
Ot`tice of Prot`essiona.l Sta.ndards (OPS) front August 2002 to .iuiy 2004.

E. TISA MC\RRIS was the Chief Adrninistrator of the Chicago Police Department’s OPS
from .luly 2004 to Uctober 20(]6. n

assets

9. On or aboth October 22, 2005, Some Ot‘ all of the DEFENDANT OFFICERS Were
engaged in an unreasonable seizure ot`the PLAINTIFF. This conduct violated the Fourth
Amendrnent to the Unitcd States Constitution.

10. ()n or about t)ctober 22, 2()()5, P|...AtNTtFF did not obstruct_]ustice, resist arrest, better
and/or assault any of the DEFENDANT OFFICERS.

t 1. Thc show oi` force initiated by and/or the failure to intervene in the use of said force by
the DEFEN|)AN'I` Gi*`_i"ICE.RS caused an unreasonable seizure to the `FLA]'NTIFF.

12. rha oEFENr)ANT orsicans charged and/or participated in the charging of
PLAINTTF`F with criminal activity and arrested, participated in the arrest and/or failed to prevent
the arrest ot`the FLAINTIFF notwithstanding the fact that the i.)t`iiiENDANT OFFICERS failed to

observe and/or learn that Pl .A]\N't`lt"l"` had committed erin‘iinal activity of" any sort, rl`he

 

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DEFENDAN'|` GI~`FIC|F,RS did not have probable cause to believe that criminal activity took
place relative to the PLAINTIFF.

l3. On Octobcr 22, 2005, PLAINTIFF had not committed an act contrary to the laws ofthe
State of lllinois_

14. As a direct and proximate result of one or more ofthe aforesaid acts or omissions of the
DEFE'NDANT OFFTCERS, PLAll`~l'l`lFl~` was caused to suffer damagesl

l5i t`)n or about (.`.lctober 22_, 2005_. the l)l~ll~`l~i`Nl)AN'l` Dl~"l~`lCl§RS were on duty at all times
relevant to this complaint and were duly appointed police officers for thc CITY GF CHICAGO.
The DEFENDANT OFFICERS engaged in the conduct complained of, on said date, in the course
and scope of employment and while on duty. This action is being brought With regard to the
individual capacity of the DEFENDANT OFFICERS.

16. Upon information and belief, J. QtliNN, on October 22, 2005, came into physical contact
With PLAINTIFF.

l?. Upon information and belicf, .i.R. MASEY, on October 22, 2005, came into physical
contact with Pl,A|.i`~|'l`ll"`l"".

lS. Upon information and belief_, .l.A. KE`N'NY_., on October 22, 2005, came into physical
contact with Pl..Al.N'l`ll"`l*`. l

i.‘)i Upon information and belief, OTHER UNKNOWN DEFENDANT OFFICERS, on
C)Ctobcr 22, 2005_, came into physical contact with P[.AlN'|`ll"`.l"`.

CONSPIRACY

20. Some or ali of the DEFENDANT OFFICFLRS conspired to cause damage to i"LA,lNTiFF

in the following manner:

a. agreeing to falsely arrest and/or falsely institute criminal
charges/proceedings against thc ]`-'LATNTIFF;

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b. using excessive force and/or failing to intervene in the use
of excessive force against the P`LA`|`N'I"i`l~"F;

c. agreeing not to report each other after witnessing and/or
using excessive force relative to the PLAINTIFF;

d. agreeing not to report each other after falsely arresting
and/or charging PLAINTIFF_; l

e. generating false documentation to cover-up for their own
and each other’s misconduct;

21. in connection With the above conspiracy, the DEFE`NDANT OFFlt'J`|`~.LRS specifically
engaged in communication on or about October 22, 2005, whereby the DEFEN.DANT
GFFICERS agreed to facilitate_, engage in and support the activity Which occurred in connection
with the allegations immediater abovc. As a result of this conspiracy, the I`)lll`*"tiNtJAl`~l'i`
OFFICERS by and through their conduct, proximately caused PLAINTIFF to, infer attica suffer
injl ury, be charged With criminal allegations, incur financial loss_, including attorney’s fees, and
stiffer em otionally.

22. Thc CITY OF CHICAGO is a duly incorporated municipal corporation and is the
employer and principal ot'the DEFENDANT OFFICERS as well as the other officers referred to
in this Complaint (as indicated in the Monsli claim alleged herein). At all times material to this
complaint, the DEFENDAN"|` Ol~`Fl(IERS were acting under color of state law, ordinance and/or
rcgulation, statutes, custom and usages of the Ci'l`Y Ui~` C_l-|.ICAGO..

EQUAL PROTECTIDN

23. The actions of the i)l£l`"`lii"~lDAN'l` OFFICERS, in engaging in the above referenced cover'

up, which led to the generation ot` false documentation and criminal charges to be lodged against

PLAlN'l`l.l"lT, demonstrate that the DFLFE'NIJAN'|.` (_`.|FFiCERS failed in their duty to enforce the

 

 

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laws equally and fairly towards the PLAiN'i"l`l~`F, therefore violating the Equal Protection Clause
of the Fotuteenth Amendment to thc Unitcd States Constitution.

24. in connection with the Hqttal Protection Claiin_1 Pl,Aii*~l'|`l`li|[T is a member of a protected
class (African Amcrican) and P| JA.INTIFF was treated differently.by the DEFENDANT
OFFICERS as a result. 'l`he I)EFENDANT OF`|~`ICERS acted with discriminatory intent by
treating PLAI`N'.|`lFF differently, trying to cause further injury to PLAI`N'|"|`FF by illegally
generating false evidence against and criminally charging PLAINTIFF, specifically due to the
status ofPl".AiN'i"iFF as an Al`rican American.

25. .ln the alternative, with regard to an Equal Protection CIlairn, PLAINTIFF was a “Class of
(_)ne." fn that rcgard, l’LA|N'|"lFF was treated with ill will and/or discriminated against with no
rational basis. Pl.iAl`l\|'i`.liTF was intentionally treated differently as a result of having a potential
claim and being a Witness to police misconduct attributable to the l)l}`..l"Ei\lDANT OFFICERS.
The DEFENDA`N"|` Oi"liiCERS acted with discriminatory intent by treating PliAI_N'.I`lF l1
differently and trying to cause further injury to PLAINTIFF by generating false evidence against
PLAIN'T"||~`F, ifiurther, PLAIN'l`iF`F was similarly situated to other individuals involved in
incidents with police officers that were not the victims ofpoliec misconduct and potential
claimants against Chicago Pc|ice Officers.

MONELL ALLEGATIONS

26. It is the eustom, practice and/or policy of police officers and/or their supervisors/agents
and/or other employees of the (.`Jl't`Y O.ii CHICAGO to perform the following acts and/or
oinissions:

a. generate false documentation to cover-up for the misconduct of' fellow police
officers;

 

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engage in acts of false arrest, fabrication of evidenee, malicious prosecution,
misrepresentation of factsJ significant intrusions tol the body of innocent eitizcns,

` excessive force1 and/or serious acts of violence_;

fail to properly discipline officers from said police department who have
committed act(s) of false arrest, fabrication ofevidence, malicious prosecution,
misrepresentation of facts, significant intrusions to the body of innocent citizens,
excessive 'foree, and/or serious acts of violonee;

fail to properly investigate a complaint of f false arrest_, fabrication of evidenee,
malicious prosecution, misrepresentation of facts_, significant intrusions to the
body of innocent citizens, excessive foree, and/or serious acts of`violence
perpetrated by a CITY OF Ci-IICAGO police officer upon another;

fail to take proper remedial action against a Ci'l"i”' DF CIi-llClAGO police officer
once it is determined that an act of false arrest, fabrication of evidence, malicious
prosecution, misrepresentation offacts, significant intrusions to the body of
innocent citizens, excessive force_, and/or serious acts of violence has been
committed by said officer upon another;

allow misconduct to occur in various types and severity such that police officers
believe that they can engage in false arrest, fabrication of`evidence, malicious
prosecution, misrepresentation of facts, significant intrusions to the body of
innocent citizens, excessive force, and/or serious acts of violence without
repercussions and/or significant repercussions',

fail to provide adequate sanctions/discipline to officers who commit false arrest,
fabrication of evidence, malicious prosecution, misrepresentation of facts,
significant intrusions to the body ofinnocent citizens, excessive force, and/or
serious acts ofvio|ence, such that a permissive atmosphere exists among officers
wherein they believe that they will not be disciplined (or significantly disciplined)
for engaging in such behavior;

fail to provide adequate sanetitnts/diseipline to officers who falsify police reports,
investigations and/or internal investigations causing said officers to believe that
they can manufacture evidence Which will cause them to not be disciplined or
significantly disciplined for engaging in illegal behavior, inter olin false arrest,
fabrication of evidence, malicious prosecution, misrepresentation of facts,
significant intrusions to the body of innocent citizens, excessive force, and/or
serious acts ofviolence;

fail to provide adequate sanctions/discipline to officers who falsify police reports,
investigations and/or internal investigations, causing said officers to believe that
they can manufacture evidence which will cause them to not be disciplined or
significantly disciplined for engaging in behavior which violates the rules_,
policies and/or procedures of the Ci'l`Y Ol*` CI| l.lCIAG(J police department;

 

 

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j. fail to properly investigate officers who falsify police reports, investigations
and/or internal investigations, causing said officers to believe that they can
manufacture evidence which will cause them to not be disciplined or significantly
disciplined for engaging in behavior which violates the rulcs_, policies and/or
procedures of the CITY tilT CHICAGCJ police department;

k. fail to take proper remedial measures to prevent and/or correct officers who
falsify police reports, investigations and/or internal investigations, causing said
officers to believe that they can manufacture evidence which will cause them to
not be disciplined or significantly disciplined for engaging in illegal behavior,
inter olin false arrest, fabrication of evidencc, malicious prosecution,
misrepresentation of facts, significant intrusions to the body of innocent eitiaens,
excessive f`orce_, and/or serious-acts ofviolence; ‘

 

l. fail to take proper remedial measures to prevent and/or correct officers who
falsify police reports, investigations and/or internal investigations, causing said
officers to believe that they can manufacture evidence which will cause them to
not be disciplined or significantly disciplined for engaging in behavior which
violates the rules, policies and/or procedures of the Ci'l`Y OF CHICAGO police

v department;l

m. fail to properly investigate officers who commit acts of false arrest, fabrication of
evidence, malicious prosecution, misrepresentation of facts, significant intrusions
to the body of innocent citizens, excessive force, and/or serious acts ofviolence,
such that a permissive atmosphere exists among officers wherein they believe that
they will not be disciplined (or significantly disciplined) for engaging in
misconduct with citizens;

n. fail to take proper remedial action with officers who commit acts of false arrest,
fabrication ofevidence_1 malicious prosecution, misrepresentation of facts,
significant intrusions to the body of innocent citizens, excessive force, and!or
serious acts of`violence, such that a permissive atmosphere exists among officers
wherein they believe that they will not be disciplined (or significantly disciplined)
for engaging in misconduct with citizens_;

o. fail to provide proper training to prevent officers from falsifying police reports,
falsely charging innocent citizens, committing false arrest, fabricating evidence,
malicious prosecuting others, misrepresentating facts, causing significant
intrusions to the body ofinnocent citieens, using excessive force, and/or
committing serious acts of violence, and violating the rules, policies and
procedures of the CITirr Ol~` CHICAGO police department.

2'i'. This practice and/or custom, as alleged above, has gone unchecked and been allowed to

exist in CITY Ol*` CHICAGO for a significant period oftirnc, so much so, that police officers for

 

 

 

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the CITY OF Ci-ilCAGO recognize that they will not be punished for committing said acts and
that, in fact_1 said acts are either permitted or quietly consented to by superior officers of the Cl”l`V
OF Cl:llCAGO police department in order to permit said conduct to rc-occur.

28. ft code of silence exists between officers ofthe Defendant |Vlunicipality, 'i`his code of
silence obstructs the legal process (prevcnting the free flow of honest information with regard to
acts of misconduct). This code of silence contributes to the generation of secrets, in the
department, regarding police officer misconduct

SPEC‘IAL UPERATIONS (}FFICERS

29. iietween the years 2001 and 2006, there were at least 662 Chicago police officers that
received at least 10 civilian complaints lodged against them.

30. The Cl'fY OF Ci-iiCA(_iO possesses the names of the 662 police officers that have
received at least 10 civilian complaints lodged against them, between the years 2001 and 2006.

31. Between the years 2001 and 2006_. there were at least 662 Chicago police officers that
worked in a unit called *"Speciai Opcrations,” that received at least l10 civilian complaints lodged
against them (these officers shall be referred to, herein, as “Special Operations Officers”).

32. The civilian complaints lodged against the Special ()perations Officers have not been
properly investigated by thc Chicago Policc Department.

33. in the year 2007`, an order was entered by the HO`N()RABLE JU D(ifi li\EFKOW
regarding the Special Operations Ofiicers for the City of Chica.go. 'l'he order providcd, inter nfio,
that the parties were permitted to make public the names of 662 f_~lpecial Operations ()fficers that
had 10 or more civilian complaints lodged against thcm.

34. The ClTY OF tit-ttCAGO refuses to release the names of thc Spccial f)perations

C)fficers_. referenced in the order ofthe HONC)RABLE JtlI)GE LEFKOW, to the public.

 

 

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35. There arc at least 4 police officers who worked in the Special Operations Section of the
Chicago Police Departmcnt who have received at least 50 complaints of misconduct.

36. Within the last 4 years_, 6 police officers who were members of the Special ()perations
Section of the City of Clhicago have been indicted for robbing and kidnapping individuals

37. There are 10 police officers who worked in the fipecial t`)perations Scction who received
a combined total of 408 complaints of misconduct (with the Office of Professional Standards).
With regard to those 408 complaintsj only three were sustainedl

38. Of the ten Special Opcrations Officers that received a combined total of 408 complaints,
one officer, who was accused of misconduct 55 times, has never received a complaint that has
been sustained

OFFICE OF PROFESSIONAL STANDARDS (OPS)

39. fiess then one percent of the charges of misconduct that have been lodged against
Chicago Police Of'ficers, through the Office ofProf`essional Standards (hereinafter “OPS”), over
the last 10 years, have resulted in a “sustained finding” against said officer.

40. 'f`he C)f’S is fully funded by the City ofChicago.

41. 'fhe OPS, over the last 10 years, has been managed by an individual that has been
appointed by the l'vfayor of the City of Chicago.

42. The OPS, over the last 20 years, has been managed by an individual that has been
appointed by the Mayor of the City of Chicago.

43. Over the last l(l years_., there has not been an entity and/or agency, not employed by the
City ofChicago, that has reviewed the decisions ofOPS to determine whether or not an individual

police officer should receive a sustained tinding, as that term is defined by OPS.

 

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44, t)ver the last 20 years, there has not been an entity and/or ageney, not employed by the
City ofChieago, that has reviewed the decisions of OPS to determine whether or not an individual
police officer should receive a sustained finding, as that term is defined by the Chicago Policc
Dcpa.rtment.

45. f)ver the last 20 years, there has not been an entity and/cr agency_. not employed by the
f.`fity of (Jbicago, that has reviewed the work performed by OPS to determine whether OPS is
properly investigating the complaints of misconduct of Chicago Police Officers.

46. Dtle to the intimate connection between the f_)PS and the Mayor ofthe City offihicago,
as well as other politicians of the City ofChicago, there is a lack of independent review of
misconduct of Chieago f’oliee ()fficers.

47. F`or examplel ()fficer Raymond Piwnicki obtained 56 complaints against him within ?
years and failed to receive meaningful discipline for any act of misconduct

43. Officer Rex i-layes received over 65 complaints of misconduct lodged against him, as
well as 10 lawsuits, amounting to over 2.5 million dollars in City tax dollars that had to be paid as
a result ofthe litigation that was lodged against him.

PARTICULARIZED MISCONDUCT OF
CERTA]N l:)Fli`IC]ilRS1

l 49. Chicago Police Officer Broderick .loncs has pled guilty, in cheral Court, before thc
i-ionorablc Judge Guaman, of engaging in multiple acts of racketeering activity, to wit: possession
of cocaine with the intent to distribute, robbery and cxtortion.

50. in his plea of guilty, Broderiek Jones admitted that he committed ro`bbery, extortion and

possession of cocaine with the intent to distributc, while he was working for the Chicago Police

 

l 1"ltese allegations serve as an example ofmisconduct by Chicago Poliee Offieers, as well as the failure ofthe
Clticagc Poliee Departrnenl and OPS, to monitor itself.

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Department and while he was acting in the capacity ofa Chicago Policc Offieer. He also
admitted to undertaking these efforts from 1999 through lviarch 2005.

51. Chicago Police Officer Corey Flagg pled guilty, before the t-lonorable 1 udge tj_iuaman_1 in
liederal CIourt, to having conspired,I along with Chicago Police Oftieers Eural Elaek, Darelt
l-layncs, Broderick Jones and others, to intentionally possessing and distributing cocaine and
marijuana.

52. Col‘ey F`lagg pled guilty to having worked With Eurai Blac-k, Darek Haynes and firoderick
Jones to obtain cocaine, marijuana and drug money, through robbery and extortion.

53. Corcy Flagg, in his plea of guilty, stated that he understood that any cocaine and
marijuana obtained during the course of his criminal efforts would bc distributed to the people he
was criminally involved with (i.e. Eural Black, Darek Haynes and Broderick Jones_).

54. Corey Flagg admitted, in his plea agreement, that while he was a Chieago Police Officer,
be knew that Brodericl{ .lones recruited Chicago Police ()fficers_, including himself and Ofticer
i-layncs, to conduct vehicle stops and home invasions in order to illegally obtain drugs, money
and weaponsl

55. Corey Flagg, in his plea of guilty, recognized that he and other Chicago Police Officers
used their power, authority and official position as Chicago Police Offieers to promote and protect
their illegal activities, as mentioned above.

56. L"ural Black, previously a Chicago Police Officer, was found guilty of the following, by a
Jury, in the City of Cbicago, before the l'ionorable iludge l‘iibbler:

a.. attempting to conspire and distribute controlled substanccs;
b. multiple acts ofrobbery and racketeering;

c. the procurement of weapons from individuals through robbery and extortion;

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d. recruiting Chicago Police (Jfficcrs to conduct vehicle stops and home invasions of
others to illegally obtain money, weapons and controlled substances;

e. delivering controlled substances in exchange for cash;

f. not enforcing the law with individuals that he was involved so that he could
promote criminal activity;

g. along with Eural Black, Corey Flagg, Darek l-laynes and non-Chicago Police
f)fficcrs, distributing cocaine (up to 5 kilograms);

h. distributing cocaine in exchange for cash;

i. conducting home invasions of'individuals (along with Corey |~`lagg, Eural Black
and Darek Haynes) for the purpose of obtaining money, property, weapons and
controlled substances_;

j, using the power of his office as a Chicago Police Officer to engage in the above
(a-i) acts;

k. using the facilities of thc Chicago Police Departmcnt, namely, his badge, gun,
bullet proof vest and handcuffs, to promote his illegal activity (a-i).

OPS lNV.lESTIGATIUN RELAT_I.VE TO
BLACK, FlsAGG, JONES AND HAYNES

57. Corey l~`lagg, prior to being charged of criminal activity, possessed over 10 complaints cf
misconduct, none of which were sustained by the tlhicago Police l_`)epartment.

58. Corey Flagg has had no less then 15 federal lawsuits filed against him for civil rights
violations for activity that occurred while be was employed as a police officer for the CiTY Ol~`
Cll llCAGO.

59. l.:iural Black, prior to being charged with criminal activity, possessed over 10 complaints

of inisconduct, none of which were sustained by the Cbicago Police `Department.

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60. Broderick loncs, prior to being charged with criminal activity, possessed over 10
complaints of misconduct, none of which were sustained by the Chicago Police Department.

6`1. Darek Haynes has had no less then 15 federal lawsuits filed against him for civil rights
violations for activity that occurred while he was employed as a police officer for the CITY t)h`
CHlCAGG.

62. Darek l-layncs, prior to being charged with criminal activity, possessed over 10
complaints of misconduct, none of which were sustained by the Chicago Police liepartment.

LAWLESSNESS Il"'tr 'l`HE CHICAGO POL]CE Dlt`l’ARTl\/IENT AND ITS
CDNNECTION TO T`I:llii l1"{)LI"[`IC!\L. SCHEME f_)F rI`Hli`. CITY ()F CHICAG(`_|

63. Due to the lack of legitimate review of misconduct by Chieago Police Officers, many
police officers for the City of Chicago believe that they can engage in lawless activities.

64. The financial relationship between the City of Chicago and the OPS is such that the OPS
cannot be independent

65. 'l`bis is due to the fact that, inter ufia_, if a determination is made by OPS that a police
officer has committed an act of misconduct, said determination and the facts which flow from
said determination may be used by the person, against whom the misconduct was in iiictcd, to
receive a monetary award and/or settlement against the City of C.`hieago.

66. ln other words, if OPS renders a decision that a complaint should be sustained against an
of`flcer, the complainant may use the information gathered, as well as the fact that the complaint
has been sustained_, against the officer in a civil proceeding, to receive compensation.

67. Sustained complaints by OPS dramatically increase the likelihood that the City of
Chicago will have to indemnify thc officer for the misconduct inflicted by said officer.

68. Due to the structure of Ol-‘S and its infiltrate connection with the City of Chicago, OPS

has been an illegitimate entity to investigate the misconduct of Cbicago Police Officers.

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69. Due to the structure of OPS and its intimate connection with the City ofChicago,
Chicago f’olice ()fficers have been able to engage in significant acts of lawlessness

70. lt is due to these lawless activities that the constitutional rights of citizens become
infringcd, as police officers believe that they will be protected by OPS_, which is, in turn,
protected by thc lviayor of the City of Chicago who appoints the person in charge ofle’S.

MISCELLEANG`US FACTS f{EGARDlNG MON l!JLL LIABI`LITY

71. ln the year 2000_, a resolution was submitted to flity Cfouncil stating, in part, that Chicago
Police officers who do not carry out their responsibilities in a professional manner have ample
reason to believe that they will not be held accountable for misconduct

72. William M. Beavers was an Aldcrman for the City of Cbica.go. ln the year 2000, he was
Chairman of the Committee on l’oliec and hire of the Chicago City Council.

73. Alderman ll~ieavcrs submitted a resolution to City Council for the City of C.hieago, which
stated, among other things, that there exists “an environment where police officers who do not
carry out their responsibilities in a professional manner have ample reason to believe that they
will not be held accountable even in instances of egregious misconduct.”

74. Judge llolderman is a cheral Judge presiding in the Nortbern District of Illinois.

75. Judge llolderman wrote a legal opinion in Garcr'n v. Cr`ry ofChr.`c-ngo, 2003 U.S. l`)ist.,
LEXES, 16565(1-1.D. ill. Scp., 19, 2003). n

76. in the legal opinion authored by Judge l-lolderman, he stated, in significant part,l that the
C.ity’s police abuse investigations were incomplete, inconsistent, delayed and slanted in favor of
officers
`77. Not.withstanding the fact that there is significant and credible evidence of torture that

occurred in Chicago Police Dcpartments_, from the 1900’5 to the 1990’s, there has not been one

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Chicago Police Officer that has been punished, sanctioned and/or disciplined for same. This has
occurred as a result ofthe intimate connection between OPS, the lvlayor, and the Chicago Police
Dcpartment.

78. Notwithstanding the fact that there is significant and credible evidence of torture that
occurred in Chicago Police Dcpartments, from the thi()’s to the 1990’5, and the fact that the
lvlayor acknowledges that he failed to properly investigate torture that occurred by Chieago Police
t_)fficers while he was Cook County fltate’s attorney, there has not been one Chicago lPolice
thficcr that has been punished, sanctioned and/or disciplined fbr same. 'l"his has occurred as a
result of the intimate connection between OPS, the Mayor, and the Chicago Police Dcpartment.

BRAINMAKER

79. fn 1995, the City ofChicago became aware ofthe Erainl‘vfaker program.

80. “Brainl\/faker"’ is a software product which can be used as an assistch device to forecast
which officers on the police force are potential candidates for misbehavior.

il l. The l,iepartrnent's internal Affairs Division used Brainlvlaker to study 200 officers who
had been terminated for disciplinary reasons and developed a database of patterns of
characteristics, behaviors and demographics found among the 200 police officers.

32. The purpose of this study was to try to predict and/or understand thc misbehavior of
Chicago Police Officers.

33. Brainlvlaker compared current officers against the pattern gleaned from the 200 member
control group and produced a list ofofficers who, by virtue of matching the pattern or sharing

questionable characteristics were deemed to be "at risk."

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04_ lirainMaker was used to study the records of 12,500 police officers (records that included
such information as age, education, scx, race, number of traffic accidents, reports of lost weapons
or badges, marital status, performance reports and frequency ofsick leavcs).

05. 'l`he results of the BrainMakcr study demonstrated that there were 91 at-risk Chicago
Police Officers. Of those 91 people: nearly half were found to be already enrolled in a counseling
program founded by the personnel department to help officers that were found to have engaged in
acts of misconduct

36. Terry Hcckart, a graduate student at Ohio's Bowling Green State Unlvcrsity,
recommended Brainlviaker to Ol-‘S and;’or the Of`fice of internal A ffairs.

87. `.l‘~lotwithstand.ing the assistance that Brainl\/laker provided to the City of Chicago, the
City, through its agents, abandoned the project_, further demonstrating the inherent difficulty in
having the City of Chicago police itsele

(IUUNT 1
§1983 False Arrest

33. PLAINTIFF re-alleges paragraphs l - 87 as though fully set forth herein.

39. The actions ofthe DEFENDANT OF`FTCHRS caused the arrest ofthe PLAINTIFF
without probable cause to believe that PLAINTIFF committed criminal`activity. 'l`berefore, the
conduct of the f)liFENDANT OFFICERS was in violation of the Fourth Amcndment to the
l_lnited States Constitution.

90. The aforementioned actions of the DEFENDAN']" t)h`b`lCERS were the direct and
proximate cause of the Constitutional violations set forth abovc.

WHEREFORE, l’liA|N'l`ll?l" demands compensatory damages from the DEFENDANT

t)lil"lCERS. PflAlN'l`lFF also demands punitive damages, costs and attorney`s fees against the

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DEFENDAN'|` OFFICERS. l’LAll\lTlFF also demands whatever additional relief this Court

deems equitable and just.

f-Ml
Malicious l’rosecu_Lion ~ Statc Clgim

91. PLAINTIFF re-alleges paragraphs 1 - 87 as though fully set forth berein.

92. The l.}bil"`l_il‘~lD./\NT t`)l~`.l~"].CERS alleged that PLAINTIFI'" violated the laws of the State of
lllinois. 'f hese allegations commenced or continued a criminal proceeding against PLAfN'l"ll~`l".

93. The DHF`fiNDANT Ol`~`l`~`lCERS engaged in this effort without probable cause.

94. The underlying criminal charges were ultimately resolved in favor of PLA[NTIFF.

95. 'l`he underlying criminal charges were resolved in a manner indicative of innocence

96. The aforementioned actions were the direct and proximate cause of the violations of
illinois State fiaw, as set forth above.

WHEREFOR F., PLAfl~lTiFr` demands compensatory damages from the DEFENDAN'[`
OlililCERS. i’fiAlNTIFF also demands punitive darnagcs and costs against the DF.FENDANT
OFFICERS. Pl..AlNTlFF also demands whatever additional relief this Court deems equitable
and just.

C()UNT III
15 1903 Consniraev (Jlaim

97. PLAINTiFF re-allcgcs paragraphs l - 87 as though fully set forth herein.

98. The albrementioned actions ofthe Dl~l|;"`END./\NT OF\|.~`lCERS was the direct and
proximate cause ofthe violations of the llnited Statcs Constitution, inter alia the Fourth
Amendment and Fourteenth Amendment.

Wl-IEREFO_RE, l`*lsAlN'l"lFF demands compensatory damages from the DEFENDANT

OFFICERS. Pl.AlNTlFl"` also demands punitive damages, costs and attorney's fees against the

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l)lil`~`ENDA`N'f OFFICERS. PLAINTIFF also demands whatever additional reliefthis Court

deems equitable and just.

COUNT IV
Consniracv Claim_ ~» Stgte Law

99. _ PLAINTIFF re-alleges paragraphs l - 87 as though fully set forth herein.
l00. 'I`he aforementioned actions were the direct and proximate cause of the violations of the
Constitution of the State of l llinois and illinois law.
W`l ll~lRl;".liORE, PLAINTIFF demands compensatory damages from the DEFENDANT
t)l`~`l~`lff.|iRS. FLAINTIFF also demands punitive damages and costs against the DEFENDANT
OFFICERS. PLAiN'l"lFF also demands whatever additional relief this Court deems equitable

andjttst,

COUNT V
51983 LIABILITY OF DEFIENI)ANTS DALEY

CLINE, HILI..ARDz M()RR!S AND LIGHTFODT

ltll. PLAINTIFF re-alleges paragraphs l - 87 as though fully set forth herein.

102. Defendants fil.ill‘~lli_. l-tiLLARD, MOR_RIS, brattle and l_.ilGHTFOUT, at all times material
to this complaint, were aware that the City maintained a widespread and settled policy_, practice
and custom of failing to properly supervise, monitor, disciplinc, counsel and otherwise control its
police officers. These f)efendants were also aware that the maintenance of these practices would
result in preventable police abuse.

103. These Defendants oversaw, endorscd, condoned andfor acquiesced in the above-

. mentioned policies, practices and customs and refused to take steps to correct them.

104. These Dcfcndants_, at all times material to this complaintl caused and facilitated the

systematic denial of l*laintiffs constitutional rights1 by:l among other things:

(a) failing to monitor police officers and groups who violate the constitutional rights of

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citizens;
(b) failing to discipline police officers who engaged in constitutional rights violations;

(c) turning a blind eye to repeated and systemic abuses of the constitutional rights of
citizens, including the Plaintiff; and

(d) failing to develop and implement an effective early warning system to identify police
officers and groups who systematically violate the constitutional rights of citizens

105 . These Defendants were, at all times material to this complaint, deliberately indifferent to the
rights and safety ofPlaintiff, as evidenced by their acquiescence to and support of these policies
and their obvious consequences

WHEREFO`RE, P\L.AlNTlFF demands compensatory damages from DEFENDANTS

PHILlf’ Clill“~ll"`., L.ORI LiGHTFOOT, RlCl-lARl) DALEY, TISA MORRIS and TERRY

illl_,lsARD. PLAINTIFF also demands costs and attorney's fees against these `l`)efendants.

PLAINTIFF also demands whatever additional relief this Clourt deems equitable and just.

(It)UNT VI
Equal l’rotcction ~ Mcmber of a Proteetecl Class

106. PLAll\l'l`l|~`h` re-alleges paragraphs l -- 87 as though fully set forth herein.

107. 'l`.be actions of Tl-lE DEFENDANT O|r`.l"`lCERSviolatcd the Equal Protection clause to
the Unitcd States C‘.onstitution. l

lt)tl. The aforementioned actions of said OFFICE`RS were the direct and proximate cause of
the constitutional violations set forth above.

Wl-IEREFORE, i’lne.li‘~t'|.`ll*`lT demands compensatory damages from the DEFENDANT
OFFICERS. PLAINTIFF also demands punitive damages, costs and attorney's fees against the
DEF`E`NDANT OFFICERS. l`»'lir$tll\l'l"ll"iT also demands whatever additional reliefthis Court

deems equitable and just.

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COUNT VII
win Protcction - Class of One

109. PLAlNTlFF re-alleges paragraphs l 87 as though fully set forth herein.

110. The actions of Tl-iE D`EFEN]`)AN'|` OFI`~`IC`tiRS violated the liqual Protection clause to
the Unitcd States Constitution.

l l ll "f`heaforementioned actions of said C)l"`t*`lCERS were the direct and proximate cause of
the constitutional violations set forth a.bove.

WHEREFOR_E, PLAINTIFF demands compensatory damages from the DEFENDANT

OFFICERS. PLAlNTiFF also demands punitive damages, costs and attorney's fees against the
lJ`I*Ll`~`lrlNl)AN'l` O`Fl`~"lCHRS. P'l_.All\lTll"`lT also demands whatever additional relief this C.ourt

deems equitable and just.

COUNT VIII
Morrefl

ll2. PLAlNTlFF re-allcges paragraphs l ‘- 87 as though fully set forth herein.
WHEF_`EFORE, PLAINTIFF` demands compensatory damages against the C`.l'fY OF`
C‘HlCAGO, costs and attorney's fees. PLAll\lTlFF also demands whatever additional reliefthis

Court deems equitable and just.

COUNT IX
745 ILCS 10)'9-102 Cl_a_\i_m Against the CITY Oili (`.`H`l`CAGO

l 13. PLAINTIFF rc~alleges paragraphs l - 37 as though fully Set forth herein.
i `14. Defendant Cl'l"Y f)l*q Cl:ll(.ir'-\GO is the employer Ot'tl'tc DEFENDANT OFFICERS

alleged above.

115. The DEFENDANT Or`r`lflhftS, as alleged above, committed the acts under color of law

and in the scope of employment ofthe Cli`Y OF CHICAGO.

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Wlll`~lRHF(JRE, should the DEl~`ENDANT OFFICERS be found liable for any ofthe
alleged counts in this oause, Plainti[`f` demands that_. pursuant to 745 II_.CS lU/Q-l UZ, the Cl'l`Y
(`)l~` Cl-l.lCAGO pay Plaintift` any judgment obtained against the DEFENDAN'|` C)Fl`~`l(`,`l_"-.RS as a
result of this complaint.

(3()UNT X
Supplementarv Claim for Resnondear Sugerior

l lo. PLAINTIFF re-alleges paragraphs l --- 37 as though fully set forth herein.

l 17. The aforesaid acts ofthe DEFENDAN'|` ()l’il*lCERS were in the scope of employment
and therefore the Defcndant Cl'l`Y C)l~` Cl-llCAGO, as principal, is liable for the actions of its
agent(a) under the doctrine of respondeaer .s'uperz`t)r.

W.l |l£RlEFORE should the DEFE.N])ANT OFFICERS be found liable for any state claims
alleged herein, Plaintil`f demandsjudgment against the CIl’|`Y Ol" CHICAGO and such other

additional relief, as this Court deems equitable and just.

l’laintiff demands trial by jury.

Respectfuliy submittcd,

     
   

gttot!iey for thl:`,[:l.y"d{tit'f \j
L `_ lake Horwitz

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THE LA`W ()FFICES OF BLAK|`E HORWITZ, LTD.
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